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Attorneys for Plaintiff

                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,               ) No. 3:19-cr-00114-JMK-MMS
                                          )
                          Plaintiff,      )
                                          )
         vs.                              )
                                          )
  REY JOEL SOTO-LOPEZ,                    )
                                          )
                          Defendant.      )
                                          )

               JOINT NOTICE OF PROPOSED HEARING DATES

      Pursuant to the Court’s text order at document 105 of the electronic record in

this matter, the parties have conferred and propose that if a Franks hearing on the

defendant’s second motion to suppress evidence occurs, it be scheduled during the

week of March 1-5, 2021, excluding only the afternoon of March 2, 2021. The




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United States notes, however, that its motion for reconsideration of the Court’s

order to set a Franks hearing remains pending. ECF No. 106.

      RESPECTFULLY SUBMITTED February 8, 2021, in Anchorage, Alaska.



                                             BRYAN SCHRODER
                                             United States Attorney

                                             /s/ Allison M. O’Leary
                                             ALLISON M. O’LEARY
                                             Assistant U.S. Attorney
                                             United States of America


CERTIFICATE OF SERVICE

I hereby certify that on February 8, 2021, a true and correct copy of the foregoing
was served electronically on the following:

Gary Colbath

s/ Allison M. O’Leary
Office of the U.S. Attorney




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